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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT |

 

CONFIGAIR LLC,

Lead Docket Number:

Plaintiff/Counterclaim Defendant, 17-cv-02026 (JBA)

U.S.D.C./New Haven
v.

Judge Janet Bond Arterton
HENRY KURZ,

May 22, 2019

Defendant/Counterclaimant.

 

DECLARATION OF HENRY KURZ

 

I, HENRY KURZ, pursuant to the requirements of 28 U.S.C. § 1746, declare that

the following is true and correct:

1. I am a defendant/counterclaimant/third-party plaintiff in this action.

Be I am also the sole member and owner of Henry Kurz Consulting GmbH, a

plaintiff in this action.

3. I have identified new counsel willing to represent me and HKC in this

action, on the condition that the Court grants at least a 30-day extension of

time.
I declare under penalty of perjury that the foregoing is true and correct.

Dated: May 22, 2019
Respectfully submitted,

Henry Karz./

 
